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           UM TED STATES OF AM ERICA                   :
                                                       :
                       v.                              : CaseNo.1:19-CR-ù0022 IJPJI
                                                       :
           W AQAR UL-HASSAN                            :

                                           PLEA A G REEM EN T

                 1have agreed to enter into a plea agreem entw ith the United States of America,
           pursuanttoRule 11(c)(1)(C)oftheFederalRulesofCriminalProcedure. Thetermsand
           conditionsofthisagreem entare asfollow s:
'
           A .CH AR GEIS) TO W H ICH I A M PLEA DING G UILTY A ND W AIVER O F
              RIGH TS

              1. TheChareesand PotentialPunishm ent

                 M y attom eyhasinformedmeofthenatureofthechargets)and theelementsofthe
           chargets)thatmustbeproved by theUnited Statesbeyond areasonable dopbtbefore I
           could befound guilty ascharged.                                             '

                 Iwillenterapleaofguilty to Counts 1and 2 ofthe Superseding lnform ation.

                 Count 1 charges m e with m aking a m aterially false, fictitious and fraudulent
           statementorrepresentatiùn in amatterwithin thejurisdiction ofthe executivebranch of
           the GovernmentoftheUnited States,in violation of 18 U.S.C.j 1001. The maximum
           stamtorypenaltyisafineof$250,000and/orimprisonmentforaterm offiveyçars,plusa
           term ofsupervised releaseofthreeyears.                                         '

                 Cotm t 2 charges m e w ith m aking a m atelially false, fictitious and ,fr:udulent
           statementorrepresentation in amatterwithin thejurisdiction oftheexecutivébranch of
           the GovbrnmentoftheUnited States,in violation of 18 U.S.C.j 1001. Themaximum
           statm orypenaltyisafineof$250,000 and/orimprisonmentforaterm offiveyq'ars,plusa


                                                                     Defendant'sInitials: W - &
                                               Page 1of 13


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   term ofsupervised release ofthreeyears.

         Iunderstandrestitutionmaybeordered,my assetsmaybesubjecttoforfei
                                                                        fture,and
   feesm ay beim posed to pay forincarceration,supervised release,and costsofprosecution.
   In addition,a$100specialassessment,pursuantto 18U.S.C.j3013,willbeimposed per
   felony countofconviction. 1furthertm derstand m y supervised releasem ay be revoked if
   1violate itstermsand conditions. 1understand a violation ofsupervised release increases
   theposjibleperiod ofincarceration.

          1am pleadipg guilty asdescribed above because 1am in factgtzilty and because I
   believeitisin my bestinterestto do so and notbecause ofany tlzreatsorprom ises.

      2. W aiverofConstitutionalRiehtsUpon a Plea ofG uilfv
        lacknow ledgelhavehad a1lofmy rightsexplainedto me andlexpressly recognize
   1havethe follow ing constitutionalrightsand,by voltm tadly pleading guilty,1knowingly
   waiveand give up these valuable constimtionalrights:

         a. Therighttoplead notguilty and persistin thatplea;
         b. n erighttoaspeedyandpublicjurytrial;
         c. Therightto assistanceofcounselatthattrialandin anysubsequentappeal'
                                                                              ,
         d. Therightto rem ain silentattrial;
         e. Therighttotestify attrial;
         f. Therightto confrontand cross-exam inew itnessescalled by the governm ent;
         g. Therighttopresentevidenceand witnessesin my opn behalf'   ,
         h. Therightto com pulsory processofthe court;
         i. Therightto com peltheattendance ofwitnessesattrial;
         j. Therighttobepresumedinnocent;
         k. Therightto aunanim ousguilty verdict'
                                                ,and
         1. Therightto appeala guilty verdict.

   B. SENTEN CING PRO W SION S

      1. GeneralM atters

         Pursuantto Fed.R.Crim.P.11(c)(1)(C),theUnited Statesand lagreelshallbe
   sentenced toaperiod ofincarceration oftim eservedand to aterm ofprobation often years
   (i.e.aterm offiveyears'probation on both Counts 1and 2,to nm consecutively). The
   partiesagreethisisa reasonablesentence considering al1ofthe factsand circumstancesof


                                                            nepndant'sInitiau:V -/-f
                                        Page2 of 13



Case 1:19-cr-00022-JPJ-PMS Document 30 Filed 08/07/19 Page 2 of 13 Pageid#: 71
   thiscase. Iunderstand theCourtmustsentencemeto thisagreed upon sent:nceorreject
   thepleaagreement.If,andonlyif,theCourtrejectsthepleaagreçment,Iwillbegiven an
   opporttm itytow ith& aw m y guiltyplea.TheUnited Statesand Iagreea11othersentencing
   matters,including,butnotlimited to,supervisedrelease,fines,andrestitutidn,are leftto
   the Court's discretion. Because the parties have stipulated the agreed-upon sentence is
   reasonable regardlessofthe guidelinescalculations,Iwaive any right1m ay have to any
   futurereduction in sentence based on a change in the sentencing guidelines.

          Iunderstand 1willhave an opporttm ity to review a copy ofm y presentence report
   in advanceofmy sentencinghearing andmay fileobjections,asappropriate. Iwillhave
   an opportunity at m y sentencing hearing to present evidence, bring w itnesses, cross-
   exam ine any w itnesses the governm entcalls to testify,and argue to the Courtwhatan
   appropriate sentenceshould bewithin the confinesofthetermsofthisagreem ent.

      2. Sentencin: Gujdelipes
          Istipulateand agree thata11m atterspertaining to any ofthecounts ofthe charging
   documentts), including any dismissed counts, are relevant conduct for purposes of
   sentencing.

         1understand guideline sectionsmay beapplicableto m y caseand the United States
   andIwillbefreetoarluewhetherthesesectionsshouldorshouldnotapply;totheextent
   the argum ents are notlnconsistentwith the stipulations,recom mendatlons and terms set
   forth in thisplea agreem ent.

         1 agree to acceptresponsibility form y conduct. Ifl comply with m y obligations
   underthisplea agreementapd acceptresponsibility formy conduct,theUnited Stateswill
   recom mend the Courtgrant m e a two-levelreduction in m y offense level,pursuantto
   U.S.S.G.j3E1.1(a)and,ifapplicable,atsentencing,willmovethatIreceiveaone-level
   reduction in my offense level,ptlrsuantto U.S.S.G.j 3E1.1(b),for purposes of any
                 .

   guidelines calculation. How ever,1 stipulate thatifI failto acceptresponsibility for my
   conductorfailto comply with any provision ofthisplea agreem ent,1should notreceive
   creditforacceptanceofresponsibility.

      3. SubstantialAssistance

         1understand the United States retains al1ofitsrightspursuantto Fed.R.Crim .P.
   35(b),U.S.S.G.j5K 1.1and 18U.S.C.j3553/). Iunderstand even ifIfully cooperate
   with 1aw enforcement,the United Statesisunderno obligation to m ake a m otion forthe


                                                            oepndant'szaz/o/xrpbl-/./
                                        Page 3 of 13


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   reduction ofm y sentence.Iunderstand iftheUnited Statesm akesam otion forareduction
   in m y sentence,the Court,after hearing the evidence,w ill determ ine how much of a
   depaA re,ifany,Ishould be given.

      4. M onetaa O blieations

         a. SpecialA ssessm ents.Fines and R estitution

           I tm derstand persons convicted of crim es are required to pay a mandatory
   assessm entof$100.00 per felony countùfconviction. 1agree lW illsubm itto the U.S.
   Clerk'sOftk e,a certified check,m oney order,orattorney'strustcheck,m ade payable to
   the <f lerk,U .S.DistrictCourt''forthe totalam ountdue form andatory assessm entsprior
   to entering m y plea ofguilty.

           Iagreeto pay restimtion forthe entire scope ofm y crim inalconduct,including,but
   notlim ited to,a11matters included as relevantconduct. tn addition,I agree to pay any
   restitution required by law,including,butnotlim ited to,amountsdueptlrsuantto 18U SC
   jj2259,3663,and/or3663A.1understandand agreearequirementIpay restitution for
   a11oftheabove-stated matterswillbeimposedupon measpartofany fmaljudgmentin
   thismatter.

           l further agree to m ake good faith efforts toward paym ent of al1 m andatory
   assessm ents,restitution and fines,with whateverm eans l have atm y disposal. l agree
   failureto do so willconstitm e aviolation ofthisagreem ent.Iw illexecuteany docum ents
   necessary to release the funds 1have in any repository,bank,investm ent,otherfinancial
   institution,or any other location in order to m ake partial or totalpaym enttoward the
   m andAtory assessm ents,restim tion and finesim posed in my case.

          Ifully understand restitm ipn and forfeiture are separate fnancialobligationswhich
   m ay be im posed upon a crim inaldefendant. Ifurtherunderstand thereisaprocesswithin
   the Departm entof Justice whereby, in certain circum stances,forfeited funds m ay be
   applied to restitution obligations. Iunderstand no one hasm ade any prom isesto m e that
   such a processwillresultin a decrease in my restitution obligationsin thiscase.

         1understand and agree,pursuantto 18 U.S.C.jj 3613 and 3664(119,whatever
   monetary penalties are imposed by the Courtwillbe due immediately and subjectto
   imm ediate enforcem entby theUnited Statesasprovided forby statute. 1understand ifthe
   Courtimposes a schedule of paym ents,that schedule is only a m inimum 'schedule of
   paym entsand nottheonly m ethod,noralimitation on themethods,availableto theUnited


                                                              Defendant'sInitials:    -#
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'


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                                                                                        k
                                                                                        ï




           Statestoenforcethejudgment.                                                  '
                  1agree to granttheUnited Statesa wage assignm ent,liquidate assets,,orcpmplete
    '      any othertaskswhich willresultin imm ediatepaym entin 1 11,orpaym entiltthe shortest
           timeinwhichfullpaymentcanbereasonablymadeasrequiredunder18U.S.C.j35724* .
                   1expressly authorizetheUnited StatesAttorney'sOfficeto obtain acreditreporton
           m e in orderto evaluatem y abilityto satisfyany financialobligation imposedb'y the Court.

                  1agree the follow ing provisiops,orw ords ofsim ilar effect,should be included as
           conditionsofprobation and/or supervised release:(1)tThe defendantshallnotify the
           FinancialLitigation Unit,United States Attom ey's Office,in writing,of any interestin
           property obtained,directly or indirectly,including any interestobtained underany other
           nam e,or entity,including a trust,partnership or corporation after the execution ofthis
           agreementuntilal1fines,restimtion,moneyjudgmentsand monetaryassessmlntsarepaid              '
           in 111''and (2)fç-
                            l'he Defendantshallnotify theFinancialLitigation Unit,United States
           Attorney'sOffice,in writing,atleast30 dayspriorto transfening any interest.in property
           owned directly orindirectly by Defendant,including any interestheld orowned underany
           other name or entity, including trusts, partnership and/or corporations tmtil a11 fines,
           restitution,moneyjudgmentsandmonetaryassessmentsarepaid in 111.9'
                  The parties will also jointly recommend that as a condition of probation or
           supervised release,D efendant w ill notify the Financial Litigation Unit, United States
           A ttorney's Office,before D efendanttransfers any interestin property owned:directly or
           indirectly by DefendAnt,including any interestheld or owned under any othernam e or
           entity,includingtnzsts,partnershipand/orcorporations.See18U.S.C.j3664(k),(n).
                  Regardlessofwhetherornotthe Courtspecifically directsparticipation' orimposes
           a schedule of paym ents,I agree to fully participate in inm ate employm ent under any
           available orrecom m ended program soperated by theBm eau ofPrisons.        :
                                                                                            ?
                  Iagreeanypaymentsmadebymeshallbeapplied fullytothenon-jointqndseveral
           portion ofmy outstanding restitution balanceuntilthe non-jointand several7portion of
           restitm ion ispaid in 1 11,tm lessthe Cpurtdeterm inesthatto do so w ould cause ahardship
                                                                                            .

           toavictim oftheoffensets).
                 b. D utv to M ake FinancialD isclosures
                 Iunderstand in thiscasethereisapossibility substantialfm esand/orrestim
                                                                                       r tionm ay
                                                                                            :


                                                                      Defendant'sInitialsï: ' -H
                                                 Page 5 of 13                               ,


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   be im posed. In orderto assistthe U nited States as to any recomm endation and in any
   necessary collection ofthose sum s,lagree,ifrequested by theUnited States,to providea
                                                                               ,

   com pleteand truthfulfinancialstatem entto theUnited StatesAttorney'sOffice,w ithin 30
   daysofthe requestor3 dayspriorto sentencing,whicheverisearlier,detailing al1incom e,
    expendimres,assets,liabilities,gifts and conveyancesby myself,my spouse and my
   dependentchildren and any cop oration,partnership orotherentlty in which lhold orhave
   held an interest,for the period starting on January 1stof the yearprior to the year my
   offense began and continuing te ough the date ofthe statem ent. This fmancialstatement
   shallbe subm itted in a form acceptableto theUnited StatesAttorney'soffice.

          From the tim e of the signing of this agreem ent or the date l sign the fmancial
    statement,whichever is earlier,I agree notto convey anything ofvalue to any person
   w ithouttheauthorization oftheUnited StatesAttom ey'sOffice.

          c. Understandine ofColled ion M atters

          Iunderstand:

          1. aspartofthejudgmentinthiscaseIwillbeorderedtopay oneorm oremonetary
             obligations;
          2. paym entshould bem adeasordered by the Court
          3. Im ustm ailpaym ents,by cashier'scheck orm oney order,payableto the ''Clerk,
             U .S.DistrictCourt''to: 210Franklin Road,S.W .,Suite540,Roanoke,Virginia
             24011',and includem y nam e and courtnumberon thecheck orm oney order;
          4. interest(unlesswaivedby theCourt)andpenaltiesmustbeimposed forlateor
             m issedpayments;
          5. theUited Statesm ay filelienson my realandpersonalpropertythatwillrem ain
             inplacetmtilmonetaryobligationsarepaidin 111,oruntilliensexpire(thelater
             of20yearsfrom dateofsentencingorreleasefrom incarcerationl;
          6. if1retain cotm selto representm e regarding the United States'effortsto collect
             any of m y m onetary obligations,1 willimm ediately notify the U nited States
             Attom ey'sOffice,ATTN: FinancialLitigation Unit,P.O.Box 1709,Roanoke,
             Virginia24008-1709,in w riting,ofthe factofm y legalrepresentation;and
          7. 1, or my attorney if an attom ey w ill represent m e regarding collection of
             m onetary obligations, can contact the U .S. Attom ey's Office's Financial
             Litigation Unitat540/857-2259.




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                                                                               -./-/
                                        Page 6 of 13



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   C.ADD ITIONA L M ATTERS

      1. W aiver ofRiahtto Seek Earlv Term ination ofProbation Over United States'       -


         O biection                                                           '

         1understandthatunder18U.S.C.j35644c)acourt,afterconsideringfactorssetfor
   in 18U.S.C.j3553(a),may terminateaterm ofprobation atanytimeaftertheexpiration
   ofoneyearofprobation in the case ofa felony,ifthe courtissatisfied thatsuch action is
   warranted by the conductofthe defendantand theinterestofjustice. 1knowingly and
   voluntarily w aive my rightto seek early term ination ofm y telnn ofprobation where the
   United Statesobjectstosuch earlyterminationofprobation.Iagreeandunderstandthatif
   Ifile any courtdocum entseeking to term inate m y term ofprobation imposed in m y case
                                                                              ,

   andtheUnited Statesobjectstosuchearlytermination,suchaction shallconstimteafailure
   to comply with aprovision ofthisagreem ent. How ever,Ialso understand and agree that
   iftheUnitedStatesdoesnotobjecttotheearlytermination ofmyterm ofprobation,1may
   seek early term ination âom the courtand file any docum entsrequesting such action.

      2. W aiver ofRiehtto Appeal

        Knowing thatIhave a rightofdirectappealofmy sentencetmder 18 U.S.C.j
   3742/)andthegroundslisted therein,Iexpressly waivetherightto appealmy sentence
   onthosegroundsoronanygrotmd.ln addition,1herebywaivemyrightofappealasto
  any and a1lother issues in thls matter and agree 1w illnotfile a notice of appeal. l am
  knowingly and voluntarily waiving any rightto appeal. By signing thisagreement,Iam
  explicitly and irrevocably directing m y attom ey not to file a notice of appeal.
  Notwithstandingany otherlanguagetothecontrary,Iam notwaiving my rk/lftoappeal
  orztlhavemy J///rzlglW /eaa///ceofappeab astoany issuewhich cannotbewaivef by
  law. 1understand the United Statesexpressly reservesa1lofitsrightsto appeal. I agree
  and understand ifIfileany courtdocument(exceptforan appealbased on an issue
  thatcannotbew aived,by Iaw,or a collateralattack based on ineffectiveassistance of
  counsel)seeking to disturb,in any wayrany order imposed in my case such action
  shallconsdtute a failure to com ply with a provision ofthisagreem ent.

     3. W aiver ofRizhtto Collaterallv Attack

         1waive any right1m ay have to collaterally attack,in any future proceeding,any
  orderissued in thism atter,unlesssuch attack isbased on ineffectiveassistanceofcounsel,
  and agree Iwillnotfile any docum entwhich seeksto dismrb any such order,unlesssuch
  filingisbasedon ineffectiveassistanceofcounsel.Iagreeand understand tliatifIfile


                                                            Defendant'szzlz/salsr    -H
                                       Page 7 of l3


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       any courtdocum ent(exceptforan appealbased on an issuenototherwisiwaived in
       this agreement;an appealbased on an issue that cannotbe waived,b# Iaw;or a
       collateralattack based onineffectivçassistanceofcounsel)seekingto distèrb,in any
                                                                                  ,

       w ay,any order im posed in m y case,such action shalleonstitute a failurq to com ply
       with a provision ofthis agreem ent.

          4. Inform ation AccessW aiver

             Iknowinglyandvoluntarily agreetowaivea11rights,whetherasserteddirectly or
       by a representative,to requestorreceive from any departm entor agency of the Um ted
       States any records pertaining to the investigation orprosecution ofthis case,including
       withoutlim itation any recordsthatm ay besoughtunderthe Freedom ofInfozp ation A ct,
       5U.S.C.j552,orthePrivacyActof1974,5U.S.C.j552a.
          5. W aiverofW itnessFee

             Iagreeto waive a11rights,claim sorinterestin any witnessfee1m ay be eligibleto
       receive pursuantto 28 U.S.C.j 1821,for my appearance atany Grand Jury,witness
       conferenceorcourtproceeding.                                               !

          6. Abandonm entofSeize: Items
              By signing thisplea agreem ent,lhereby abandon m y interestin,and consentto the
       officialuse,destruction orotherdisposition ofeach item obtainedby any 1aw enforcem ent
       agency dllring the courseofthe investigation,unlesssuch item isspecifically provided for
       in anothçrprovision of this plea agreem ent. 1 further w aive any and a11nc4ice of any
                                                                                         .


       proceeding to im plem enttheofticialuse,destruction,abandonm ent,orotherdisposition of
       îuch item s.
   '


          7. D eportation
                                                                      '
                                                                                  j

             IunderstandifIam notacitizenoftheUnited States,Imaybesubjecttddeportation
       from the United States,denied United States citizenship,and denied admijsion to the
       United Statesin thefuture,asaresultofmy conviction forthe offensets)to,which 1am
       pleading guilty.

          8. D enialofFederalB enefts
                                                                                  1
             Atthe discretion ofthe court,Iunderstand Im ay also be denied any 4ra11federal


                                                                 nepndant'szzwf-srku-rl
                                            Page 8 of 13



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7                                                                                  p
                                                                                   ;


       benefits,asthatterm isdefinedin 21U.S.C.j862,(a)forup tofiveyearsifthisismyfirst
       conviction of a federal or state offense consisting of the distribution of controlled
       substances,or up to one year if this is m y firstconviction of a federalor state offense
       involvingthepossession ofacontolled substance;or(b)forup toten yearsifthisismy
       second conviction ofa federalorstate offenseconsisting ofthe distribution ofcontrolled
       substances,orup to tiveyearsifthis ism y second orm oreconviction ofa federalorstate
       offense involving the possession of a controlled substance. Ifthis is my third or m ore
       conviction of a federal or state offense consisting of the distribution of controlled
       substances,1understand lcould be permanently ineligible fora11federalbenefits,as that
       term isdefinedin21U.S.C.9862(d).
          9. A dm issibilitv ofStatem ents

                Itmderstand if1failto plead guilty in accordance with thisagreementorwithdraw
       my pleats) of guilty any statements I make (including this plea agreement,and my
       admissionofguilt)duringorinpreparationforanyguiltypleahearing,sentencinghearing,
       or otherhearing and any statements1 m ake orhave m ade to law enforcem entagents,in
       any setting (including during a proffer),may be used againktme in this or any other
       proceeding. lknowingly w aive any rightIm ay haveunderthe Constim tion,any statute,
       rule or other source of 1aw to have such statements, or evidence derived from such
       statem ents,suppressed or excluded from being adm itted into evidence and stipulate that
       such statem entscan be adm itted into evidence. If1withdraw m y guilty plea based solely
       on the Court'srejection oftheplea agreem ent,theprovisionsofthisparagraph willnot
       aPP1y.

          lo-A dditionalObliaations

             Iagree notto com m itany ofthe following acts:

                  * attempt to withdraw my guilty plea,unless the Courtrejects the plea
                    agreem ent;
                  * deny Icomm itted any crim e to which 1havepled guilty;          ,
                  * makeoradoptanyargumentsorobjectionstothepresentencereportthatare
                      inconsistentwith thisplea ap eem ent;
                  * obs% ctjustice;
                  *   failto comply w ith any provision ofthisplea agreem ent;
                  *   com m itany othercrim e;
                  @   m ake afalse statem ent;or
                  *   failto enterm y pleà ofguilty when scheduled to do so,tm lessacontinuance


                                                                  Defendant'szzlz/llx.    -M
                                             Page 9 of 13


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                 isagreed to by theUnited StatesAttorney'sOffice and granted by the Court.

    D .REM EDIES AVAILABLE TO TH E UNITED STA TES

           1 hereby stipulate and agree thatthe United States Attom ey's office may,at its
    election,pursueany ora11ofthe following rem ediesif1failto com ply with any provision
    ofthisapeement: (a)declarethispleaagreementvoid;(b)refusetodismissany charges;
    (c)reinstate any dismissed charges;(d)filenew charges;(e)withdraw any substantial
    assistancem otion m ade,regardlessofwhethersubstantialassistance hasbeen performed;
    (9 refusetoabidebyanyprovision,stipulations,and/orrecommendationscontainedinthis
    pleaagreement;or(g)takeanyotheractionprovidedforunderthisagreementorbystatute,
    regulation orcourtrule.

           ln addition,1agree if,forany reason,m y conviction issetaside,or1failto com ply
    with any obligation underthepleaagreem ent,theUnited Statesm ay file,by indictm entor
    inform ation, any charges against m e which w ere filed and/or could have been filed
    concem ing them attersinvolved intheinstantinvestigation.Ihereby waivem y rightunder
    FederalRule ofCrim inalProcedure 7 to be proceeded againstby indictm entand consent
    to thefiling ofan inform ation againstm econcerning any such charges.lalsohereby waive
    any stam teoflim itationsdefenseasto any such charges.

          The rem edies set forth above are cumulative and not mutually exclusive. The
    United States'election ofany ofthese rem edies,otherthan declaring thisplea agreem ent
    void,doesnot,in any w ay,terminate m y obligation to comply with theterm softhe plea
    agreement.Theuse oft<if'in thissection doesnotm ean ttif,and only if.''

    E. GENERAL PR OV ISIO NS

       1. Lim itation ofAzreem ent

           This agreem ent only binds the United States Attorney's Office for the W estem
    Districtof Virginia. ltdoes notbind any state or localprosecutor,other United States
    Attorney's Office or otheroffice or agency ofthe United States Govem m ent,including,
    butnotlim ited to,the Tax Division of the United States Departm entof Justice,orthe
    Internal Revenue Service of the United States Depadm ent of the Treasury. These
    individualsand agenciesremain âeetoprosecutemeforanyoffensets)committedwithin
    theirrespectivejmisdictions.
       2. EffectofM v Sienature


                                                             nepndant'szz,s/oa:W -p
                                        Page 10 of 13



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           1understand m y signature on this agreem entconstim tes a binding offerby m e to
    enterinto thisagreem ent. Iunderstand theUnited Stateshasnotaccepted m y'offeruntilit
                                                                                 ,

    signsthe agreem ent.

       3. Effective Representation

            lhavediscussedtheterm softheforegoingpleaagreem entanda11m atterspertaining
    to the chargesagainstm ewith m y attorney and am fully satisfied with m y attorney and m y
    attorney's advice. Atthis tim e,1have no dissatisfaction or complaintw ith m y attorney's
    representation. 1agreeto m akeknown to the Courtno laterthan atthetim eofsentencing
    any dissatisfaction orcom plaintIm ay havew ith m y attonzey'srepresentation.


       4. M isconduct

          lf 1 have any inform ation concem ing any conduct of any governm ent attorney,
   agent,employee,orcontractorwhich could be construed asm isconductoran ethical,civil,
   orcriminalviolation,1agree to make such conductknown to theUnited StatesA tlorney's
   Office and the Court,in writing,as soon as possible,butno later than m y sentencing
   hearing.

       5. FinalM atters

          lunderstand athoroughpresentenceinvestigation willbe conducted and sentencing
   recom m endationsindependentoftheUnited StatesAttorney'sOfficewillbe m adeby the
   presentencepreparer,which the Courtm ay adoptortake into consideration. Iunderstand
   any calculation regarding the guidelinesby the United StatesAttom ey's Office orby my
   attorney isspeculativeandisnoibindingupontheCourt,theProbation Office ortheU nited
   StatesAttorney'sOffice. No guarantee hasbeen m ade by anyone regarding the effectof
   theguidelineson m y case.

          Iunderstand the prosecution w illbe free to allocute or describe the nature ofthis
   offense and the evidence in this case and m ake any recom m endations notprohibited by
   thisagreem ent.

          1understand the United Statesretains the right,notwithstanding any provision in
   thisplea agreem ent,to inform the Probation Office and the Courtofa11relevantfacts,to
   addresstheCourtwith respectto thenatureand seriousnessofthe offensets),to respond


                                                               Defendant'sInitlals:     -#/
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    to any questions raised by the Court,to correctany inaccuracies or inadequacies in the
    presentencereportand to respond to any statementsm ade to the Courtby oron behalfof
    the defendant.

          1 willingly stipulate there is a sufficient facmalbasis to supporteach and every
    materialfacmalallegation contained within the charging documentts) to which 1 am
    pleading guilty.

           Iunderstand thisagreementdoesnotapply to any crim esorchargesnotaddressed
    in thisagreem ent. 1understand ifIshould testify falsely in thisorin arelated proceeding
    Imay beprosecuted forperjuryand statementsImay have given authoritiespursuantto
    thisagreem entm ay beused againstm ein such aproceeding.

            Iunderstand my attorney willbefreeto argue any mitigating factorson m y behalf;
    to the extentthey are notinconsistentw ith the term softhisagreem ent.Iunderstand 1will
    have an opporttmityto personally addressthe Courtpriorto sentence being im posed.

           Thiswliting setsforth the entire tmderstanding between the partiesand constitutes
    thecompleteplea am eem entbetween theUnited StatesAttom ey forthe W estern District
    ofVirginia and m e,and no otheradditionalterm s or agreem entsshallbe entered except
    and unlessthose otherterm soragreem ents are in w riting and signed by the parties.This
    plea agreementsupersedesa11priorunderstandings,prom ises,agreem ents,or conditions,
    ifany,between the United Statesand m e.

           Ihave consulted with my attorney and fully understgnd a11my rights. lhave read
    thispleaagreem entand carefully reviewed every partofitwith my attorney. Iunderstand
    this agreement and 1 voluntarily agree to it. I have notbeen coerced,tk eatened,or
    prom ised anytlling other than the tenus of this plea agreement, described above, in
    exchange for my plea ofguilty. Being aware ofallofthe possible ctmsequçncesofm y
    plea,lhaveindçpendently decided to enterthispleaofm y own freewill,and am affirming
    thatagreem enton thisdate andby m y signam rebelow .

    oate: qo% )o'
                u-sy%
                                            W aqarU l-H assan,Defendant




                                                              Defendantuzawwa:         -#
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          Ihave fully explained >llrights available to m y clientw ith respectto the offenses
    listed in thepending charging documentts). Ihavecarefully reviewed everypartofthis
    plea agreem entwith m y client. To m y knowledge,m y client's decision to enterinto this
    ap eem entisan inform ed and voluntary one.

          lfIwillcontinueto representm y clientregarding theUnited States'effortstocollect
    any monetary obligations,1willnotify the United States Attorney's Office,ATTN:
    FinancialLitlgation Unit,P.O.Box 1709,Roanoke,Virginia 24008-1709,in writing,of
    thefactofmy continued legalrepresentation within 10 daysoftheentry ofjudgmentin


    Date: # /A //@                                  Z'
                                            R an y C argill,Esq.
                                            C ounselfor D efendant



    Date: $7                                            k
                                                                        (
                                           Thom asCullen
                                           United StatesA ttorney


    Date: J:?                                                    .
                                                                 m-
                                            hris avana gh
                                           AssistantU nited StatesAttorney




                                                             Defenaant'sznitials:' -M
                                        Page 13 of 13


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